Case 0:19-cr-60134-WJZ Document 2 Entered on FLSD Docket 05/24/2019 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                             Case No. 1:19-CR-60134-ZLOCH/HUNT

 UNITED STATES OF AMERICA

               Plaintiff,

 v.

 JENNY HERNANDEZ,

             Defendant.
 _______________________________/

                NOTICE OF PERMANENT APPEARANCE OF COUNSEL

        PLEASE TAKE NOTICE that the undersigned is authorized to practice in this Court and

 hereby enters her permanent appearance in this action as counsel for the Defendant, JENNY

 HERNANDEZ, for proceedings in the district court only.

        All pleadings and papers in this action should be served electronically via CM/ECF to

 kristy@figueroa-law.com.

        Dated this 24th day of May, 2019.

                               Respectfully submitted,

                               /s/ Kristin Figueroa-Contreras
                               _____________________________
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Case 0:19-cr-60134-WJZ Document 2 Entered on FLSD Docket 05/24/2019 Page 2 of 3



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on this 24th day of May, 2019, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

 to all parties of record.


                                /s/ Kristin Figueroa-Contreras
                                _____________________________
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Case 0:19-cr-60134-WJZ Document 2 Entered on FLSD Docket 05/24/2019 Page 3 of 3




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